               Exhibit OOO




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                                                                          exhibit

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                    Presentation to
House Oversight and Reform Committee
                      June 22, 2023

         Karen Brinson Bell, Executive Director




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                                                                     STATE BOARD OF ELECTIONS
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Committee's Requested Presentation Topics
• North Carolina law, policy, and practice for same-day registration, voting, and verification
• North Carolina law, policy, and practice for voter record maintenance
• Presentation and explanation of voter election records online

• How a same-day registrant is added to the voter rolls and what happens to their vote, including the time it can
  take for each step of verification and confirmation
• Voter ID implementation plans for absentee voting by mail and in person, same-day registration, and election day
  voting

• Roles of observers during voting and vote tabulation
• Statistics from past elections of same-day registrations, their disposition on election day, on the official canvass,
  and on certification of election results, as well as the number of same-day registrations eventually accepted and
  rejected with reasons for that ultimate decision
• Policies and practices that can improve trust in elections
• State Board budget request/needs


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             Same-Day Registration in NC
• Enacted in 2007
   • Permits a voter to provide documentation of their residence and register to
     vote and vote at an early voting site.(Additional stepfrom non-SDR
     registrants.)
• Ballot is retrievable
• Subject to mail verification process that all registrants go through
• Repealed in 2013 - US Court of Appeals struck down repeal in 2016
   • Explained in State Board Numbered Memo 2016-15
• Use of SDR by North Carolinians:
   • Mid-term years - 35,000 and 45,000 individuals
   • Presidential years -100,000 to 120,000 individuals


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Proof of Residence for Same-Day Registrant
This is an additional step compared to non-SDR registrants.
1. NC driver's license or other photo identification issued by a
   government agency

2. A copy of a current utility bill, bank statement, government
   check, paycheck, or other government document showing the
   voter's name and address

3. Documents issued by a college or university showing the
   student's on-campus housing address


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                                  Same-Day Registration Process
              Poll worker walks through process with voter, providing a "Notice" which
              states first the eligibility requirements.

              Voter fills out the registration application in front of the poll worker and
              provides proof of residence.

              Voter signs the attestation that they are eligible to vote under penalty of
              perjury.
    Sign below to attest to your qualifications to vote.
    FRAUDULENTLY OR FALSELY COMPLETING THIS FORM IS A CLASS!FELONY UNDER CHAPTER 163 OFTHE NC GENERAL STATUTES.

I attest, under penalty of perjury, that in addition to having read and understood the contents of this form, that: {!)1 am a United States citizen, as indicated above;{2) i am at least 18
years of age, or will be by the date of the general election; or 1 am at least 16 years old and understand that I must be at least 18 years old on the day of the general election to vote; I
shall have been a resident of North Carolina, this county, and precinct for 30 days before the date of the election in which I intend to vote;(3) I will not vote In any other county or
stale after submission of this form and If I am registered elsewhere, 1 am canceling that registration at this time; and (4) I have not been convicted of a felony, or If so, I have
completed my sentence {including any probation, post-release supervision, or parole).



                                                  Signature Required



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   Same-Day Registration Mail Verification

  2016                      2018                            2020
                              696




Same-day registrants are mail-verified at a rate of 98-99% in recent elections


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                  Voter List AAaintenance
Federal and state law require voter list maintenance to be uniform and
ncndiscriminatory

G.S. 163-82.14 provides specific reasons for removing voters and procedures
 • Death - monthly reports from DHHS via vital records
 • Felony conviction - daily feed from DAQ quarterly reports from US Attorneys
 • Change of address- daily feed of voters who cancel or change registration,
   biennial address confirmation process prescribed in federal/state law, twice
   yearly address confirmation using Postal Service change-of-address data

County boards of elections regularly remove registrants for the reasons
above


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                       Voter List Maintenance
North Carolina Voter List Maintenance Policy
 • https://s3.amazonaws.com/dl.ncsbe.gov/Voter Registration/North Carolina List Mainten
   a nee Policy Updated 20230621.pdf

Procedures for county boards to follow to ensure uniformity and the
minimization of errors

Includes additional measures to remove ineligible voters or erroneous entries;
 • Duplicate registrant queries - 3 mechanisms to identify duplicates, including a new
   procedure we just rolled out
 • Procedures in addition to biennial mailing to initiate the address confirmation if a county
   board gets an undeliverable mailing
 • SBE sends county boards weekly reports identifying data errors/inconsistencies- numbers
   in names, possible confidential data in a public field, possible invalid DOB, possible invalid
   registration date


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                 Election Records Online
                              ncsbe.gov/results-data
• Election Results - unofficial and official tabulation of votes

• Voter Registration data - current voter-level registration records or snapshots of
  voter registration records across 15+ years
   • Includes group-level voter demographic counts or election-specific voter demographic
     counts over the last 20+ years.
• Absentee files - records of each absentee voter (not the voter's ballot
  selections), including absentee-by-mail ballot requests and one-stop ballots from
  the in-person early voting period, and demographic stats
• Provisional files - records of each provisional voter(not voter's ballot
  selections), including reasons for provisional voting, disposition, and
  demographic stats


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       Election Records Online (cont.)
                             ncsbe.gov/results-data
Polling place data - Election Day polling place data and one-stop early voting site
data for current and past elections
Voter History data - weekly-updated voter history data from over the past 10
years, or group-level, voter demographic counts for every election over the last
20+ years on this page
 • Voter history records a voter's participation in an election in our statewide database; this
   entry includes voter county, precinct, and voting method (not voter's ballot selections)
Voter Turnout data - voter turnout across decades of primaries and general
elections in U.S. presidential and non-presidential election years




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       Election Records Online (cont.)
                                       vt.ncsbe.gov
Voter tools webpage - dynamic web tools where the user submits a query and
the system processes current results. Includes:
 • County board contact information and hours

 • Election Day polling place search

 • One-stop voting sites list/search

 • Petition search (status of petitions/signatures verified)
 • Provisional search (specific to the voter)

 • Voter registration statistics (snapshots of aggregate, countywide data)

 • Voter search ("find my registration")



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                 Voter ID Implementation
Ongoing/in progress efforts include:

• Website updates, social media posts, press releases, media availabilities
• Rulemaking for procedures for poll workers and county boards to follow
• Voter and polling place materials creation
• Training materials for poll workers
• Updates to absentee envelopes/instructions, voting forms
• Software development to insert photo ID processes into election management system
  used by all counties
• Software development for county boards to issue IDs from voter records and securely
  store photos
• Approval process for student & public employee IDs


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                Voter ID Implementation
All items below are contingent on new funds...

• Instructional videos for voters and poll workers
• Advertisements/PSAs for web, social media, print, radio, TV, billboards
• Mailings to all voters, targeted mailing to voters who lack DMV ID
• Additional ID printing machines for county boards to ensure all voters have
  access to free IDs

• State staff to do community outreach events
• Graphic designer contract to make more effective voter materials




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                         Party Observers
Appointed by political party
Serve an important role of observing the process on behalf of
their party
Different from poll workers who are appointed by county boards
upon recommendation of both county political parties.
 • Bipartisan poll workers are bound by law to carry out an impartial
   election and receive official training.
 • Observers take no oath and have partisan interests, are not trained by
   election officials.




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                      Party Observers
Shall do "no electioneering/' "shall in no manner impede the voting
process or interfere or communicate with or observe any voter in
casting a ballot/' but may "make such observation and take such
notes as the observer may desire." GS 163-45(c).
May not: wear or distribute campaign material; enter voting booth
area; approach voting equipment or poll workers stations close
enough to view confidential info; position themselves to view
confidential voter information on poll books or check-in laptops;
position themselves to see the contents of voted ballots; board a
vehicle containing curbside voters; provide voter assistance; or
photograph, video, or record a voter without consent of the chief
judge/one-stop manager, then the voter. 08 NCAC 20 .0101.


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       Efforts fo Improve Trust in E
• Voter confidence campaign,ttYourVoteCountsNC, launched in 2019
• Data transparency - most robust website in country, revamped in 2020- ncsbe.gov
• Social media campaign to dispel myths and educate voters
• Info on election security in the statewide judicial voter guide mailing
• County board education initiatives - Brunswick's "expo," Forsyth's "election academy"
• Democracy Heroes - recruiting more people to become poll workers(EAC award)
  Recommend legislators and other local leaders attend county board of elections
  meetings, logic and aa
                      accuracy testing, hand-eye sample recount, county canvass - all
  are open to the
              thi public
  Before you amplify misinformation (or simply misunderstand information), please
  reach out to election officials, state or local



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        Highlights of NCSBE Budget Request
Nonrecurring Services                         Recurring NCSBE Personnel Needs

• $6.5 million for Voter ID                     5 PTEs Regional SSTs $422,063*
  Implementation                                1 FIE CISO $225,000
• $13.6 million for SEIMS and CF                2 PTEs Database Support $317,085*
  Modernization
                                                1 PTE In-Person Voting Specialist $84,412
Recurring Services                              2 PTEs Software Development $268,345*
• $350,000 Absentee Ballot Portal               2 PTEs IT Infrastructure $234,137

• $50,000 Absentee Ballot Tracking              1 PTE Web Manager $100,472

• $300,000 Hosting County Access to
  Elections Applications                      * Provides additional Voter ID Support


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                                                  These figures show the loss of hunnan capital and
                                                  institutional knowledge in the agency's IT Division, which is
Criticality of Recurring                          responsible for maintaining the backbone of the operation
                                                  of elections and campaign finance In NC, Stable, recurring
NCSBE Personnel Funding                           funding of positions guards against loss of human capital and
                                                  is key to maintaining critical information management
                                                  systems and databases.




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       Funding for Voter ID Implementation
FY2021-22: $5 million for "a mobile program to assist individuals who need photo identification in
order to vote in person." See SB 105(SL 2021-180), Jt. Conf. Comm. Rept.. p. F 65.

OSBM authorized carry forward of funds in 2022-23, if injunction on the photo ID law was dissolved.

Request an expanded scope for $5 million fund for additional photo ID implementation efforts.
 • public education
 • poll worker training
 • statewide and targeting mailings
 • county photo ID printing and a secure photo database
 • training materials for the nearly 3,000 voting sites across the State


An additional $1.5 million appropriation to the fund would support full photo ID implementation over
the biennium



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   Funding for SEIMS and CP Modernization
NR,Information Technology Reserve $13,606,411
 • $8,492;592.29 for SEIMS Modernization
 • $5,113,818.75 for Campaign Finance Modernization

 • Software suite & supporting databases; backbone of every election process and campaign finance
   reporting
 • Developed starting in 1998; antiquated, inefficient, and vulnerable to defects
 • 800+ users, mostly at county level
 • Completely state funded
 • Multiyear capital improvement project; contract project-specific teams for build & cross-training




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                        Questions?




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